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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



VOYAGEUR OUTWARD BOUND
SCHOOL, et al.,

                  Plaintiffs,               Case No. 1:18-cv-01463 (TNM)

                  v.

UNITED STATES, et al.,

                  Defendants,

                  v.

TWIN METALS MINNESOTA
LLC, et al.,

                  Defendant-Intervenors.




WILDERNESS SOCIETY, et al.,

                  Plaintiffs,
                                            Case No. 1:18-cv-01496 (TNM)
                  v.

RYAN ZINKE, et al.,

                  Defendants,

                  v.

TWIN METALS MINNESOTA
LLC, et al.,

                  Defendant-Intervenors.
         Case 1:18-cv-01463-TNM Document 82 Filed 03/17/20 Page 2 of 3




 FRIENDS OF THE BOUNDARY WATERS
 WILDERNESS, et al.,

                        Plaintiffs,                      Case No. 1:18-cv-01499 (TNM)

                        v.

 BUREAU OF LAND MANAGEMENT, et al.,

                        Defendants,

                        v.

 TWIN METALS MINNESOTA
 LLC, et al.,

                       Defendant-Intervenors.



                                            ORDER

       Upon consideration of the parties’ cross-motions for summary judgment, the pleadings,

relevant law, related legal memoranda in opposition and in support, and the entire record, for the

reasons set forth in the accompanying Memorandum Opinion it is hereby

       ORDERED that Plaintiffs’ Motion for Summary Judgment is DENIED; it is further

       ORDERED that Defendant-Intervenors’ Motion to Dismiss is DENIED; it is further

       ORDERED that Defendants’ and Defendant-Intervenors’ Cross-Motions for Summary

Judgment are GRANTED.




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      SO ORDERED.

      This is a final, appealable order. The Clerk is directed to close these cases.




                                                                          2020.03.17
                                                                          14:59:20 -04'00'
Dated: March 17, 2020                               TREVOR N. McFADDEN
                                                    United States District Judge




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